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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

LYNN ROMBOLI,                                   )
         Plaintiff                              ) C.A. No.: 1:20-cv-10068
                                                )
V.                                              )
                                                )
CITY OF REVERE, REVERE                          )
POLICE DEPARTMENT, and CHIEF JAMES              )
GUIDO, in his official and individual capacity, )
             Defendants                         )
________________________________________________________________________

                             JOINT NOTICE
________________________________________________________________________

       Now come the parties in the above captioned matter and hereby state that all

parties are available on January 21 and 28, 2022, as well as February 9, 10 and 11, 2022,

for the purposes of mediation.


                                            Respectfully submitted,
                                            For the Plaintiff,
                                            By her Attorney,

                                            /s/ Timothy M. Burke
                                            Timothy M. Burke, Esq., BBO #065720
                                            LAW OFFICES OF TIMOTHY M. BURKE
                                            117 Kendrick Street, Suite 300
                                            Needham, MA 02494
                                            (781) 455-0707

                                             For the Defendants,
                                             By their Attorney,

                                             /s/ Seth B. Barnett
                                             Seth B. Barnett, BBO #661497
                                             10 Post Office Square, Suite 1100N
                                             Boston, MA 02109
                                             (617) 350-0950
                                             sbarnett@piercedavis.com
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon all counsel
of record through the Massachusetts Electronic Filing System (ECF). Email copies have
been sent to all parties listed as non-recipients of electronic notices.


Date: 12/22/2021                    /s/ Timothy M. Burke__________________
